                  Case 1:14-cv-07009-LLS
                    Case                 Document
                          14-3708, Document          66 Filed1985729,
                                            181, 03/09/2017,  03/09/17Page1
                                                                       Pageof
                                                                            1 18
                                                                              of 18


                                                                                       N.Y.S.D. Case #
        14‐3708
                                                                                       14-cv-7009(LLS)
        Geismann v. ZocDoc, Inc.


    1                              UNITED STATES COURT OF APPEALS
    2                                  FOR THE SECOND CIRCUIT
    3                                     August Term, 2014
    4               (Argued: June 5, 2015      Final Submission: February 1, 2016
    5                                   Decided: March 9, 2017)
    6                                     Docket No. 14‐3708

    7
    8       Radha Geismann, M.D., P.C., individually and on behalf of all others similarly
    9                                        situated,
   10                                  Plaintiff‐Appellant,
                                                                    USDC SDNY
   11                                              v.               DOCUMENT
                                                                    ELECTRONICALLY FILED
   12                                    ZocDoc, Incorporated,      DOC #:   _________________
   13                                     Defendant‐Appellee,                   March 09, 2017
                                                                    DATE FILED: ______________
   14
   15                                       John Does 1‐10,
   16                                         Defendants.*
   17
   18   Before:        SACK, HALL, and CARNEY, Circuit Judges.

   19           Radha Geismann, M.D., P.C., appeals from a judgment of the United States

   20   District Court for the Southern District of New York (Louis L. Stanton, Judge)

   21   dismissing its putative class action suit against ZocDoc, Inc., alleging violations

   22   of the Telephone Consumer Protection Act. The district court concluded that a

   23   settlement offer, made by ZocDoc but rejected by Geismann, would have

        *The Clerk of Court is respectfully directed to amend the official caption to conform to
        the caption as it appears above.



CERTIFIED COPY ISSUED ON 03/09/2017
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page2
                                                                  Pageof
                                                                       2 18
                                                                         of 18

                                                                                       14‐3708
                                                                        Geismann v. ZocDoc, Inc.

 1   afforded Geismann complete relief, notwithstanding a pending class‐certification

 2   motion. The court entered judgment in Geismannʹs favor in the amount and

 3   under the terms of the unaccepted offer and dismissed the action for lack of

 4   subject matter jurisdiction on the ground that it had become moot. We conclude

 5   that the settlement offer did not render the action moot and that judgment

 6   should not have been entered nor the action dismissed on that basis. The

 7   judgment of the district court is therefore:


 8         VACATED and REMANDED.


 9                                           GLENN L. HARA (David M. Oppenheim,
10                                           on the brief), Anderson + Wanca, Rolling
11                                           Meadows, Illinois, for Plaintiff‐Appellant.
12                                           BLAINE C. KIMREY (Charles J. Nerko,
13                                           Vedder Price P.C., New York, New York,
14                                           Bryan K. Clark, on the brief), Vedder Price
15                                           P.C., Chicago, Illinois, for Defendant‐
16                                           Appellee.
17   SACK, Circuit Judge:
18         Plaintiff‐appellant Radha Geismann, M.D., P.C. (ʺGeismannʺ), appeals

19   from the district courtʹs dismissal of its putative class action against the

20   defendant‐appellee ZocDoc, Inc. (ʺZocDocʺ), alleging violations of the Telephone

21   Consumer Protection Act (ʺTCPAʺ), 47 U.S.C. § 227. Geismannʹs suit stems from

22   two unsolicited telecopies (colloquially and hereinafter ʺfaxesʺ) it allegedly


                                               2
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page3
                                                                  Pageof
                                                                       3 18
                                                                         of 18

                                                                                       14‐3708
                                                                        Geismann v. ZocDoc, Inc.

 1   received from ZocDoc. After Geismann filed a complaint and motion for class

 2   certification, ZocDoc made a settlement offer to Geismann as to its individual

 3   claims pursuant to Federal Rule of Civil Procedure 68. Geismann rejected the

 4   offer. ZocDoc then moved to dismiss the action for lack of subject matter

 5   jurisdiction on the ground that its offer afforded Geismann complete relief,

 6   thereby mooting the action. The United States District Court for the Southern

 7   District of New York (Louis L. Stanton, Judge) granted the motion, agreeing with

 8   ZocDoc that the rejected offer, which the court concluded would have afforded

 9   Geismann complete relief on its individual claims, rendered the entire action

10   moot, notwithstanding the pending class‐certification motion. The court entered

11   judgment in Geismannʹs favor under the terms offered by ZocDoc and dismissed

12   the action. While this appeal was pending, the district court granted ZocDoc

13   leave to deposit a check in the amount of $6,100.00 with the Clerk of the United

14   States District Court for the Southern District of New York in satisfaction of

15   judgment.

16         We conclude that the action was not and is not ʺmoot.ʺ An unaccepted

17   Rule 68 offer of judgment is, regardless of its terms, a legal nullity.




                                                3
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page4
                                                                  Pageof
                                                                       4 18
                                                                         of 18

                                                                                           14‐3708
                                                                            Geismann v. ZocDoc, Inc.

 1                                      BACKGROUND

 2          Geismann, a Missouri corporation, alleges that it received from ZocDoc, a

 3   Delaware corporation, two unsolicited faxes advertising a ʺpatient matching

 4   serviceʺ for doctors. Joint Appendix (ʺJ.A.ʺ1) 43, 57‐58. Both faxes stated that if

 5   the recipient wished to ʺstop receiving faxes,ʺ he or she could call a domestic

 6   telephone number provided in the fax. J.A. 57, 58.

 7          In 2014, Geismann filed a complaint in Missouri state court2 alleging that

 8   these faxes violated the TCPA,3 which prohibits, inter alia, the use of ʺany

 9   telephone facsimile machine, computer, or other device to send, to a telephone

10   facsimile machine, an unsolicited advertisement, unlessʺ the sender and recipient

11   have an ʺestablished business relationship,ʺ the recipient volunteered its fax



      1  ʺJ.A.ʺ hereinafter refers to the partiesʹ joint appendix filed in this Court on November
     6, 2014.
       2 The TCPA provides that ʺ[a] person or entity may, if otherwise permitted by the laws

     or rules of court of a State, bring [an action] in an appropriate court of that State.ʺ
     47 U.S.C. § 227(b)(3).
       3 The original complaint also included a claim under the Missouri Consumer Fraud

     and Deceptive Business Practices Act and a claim for conversion. The former was
     voluntarily dismissed prior to the filing of the Corrected First Amended Complaint.
     The district court did not directly address the latter, which was included in the
     Corrected First Amended Complaint. Geismann stated in its opposition to the motion
     to dismiss that it planned to dismiss voluntarily the conversion claim and therefore did
     not oppose its dismissal. The district courtʹs dismissal for lack of subject matter
     jurisdiction following the entry of judgment applies to the entire action, including the
     conversion claim, making it a ʺfinal decision[]ʺ over which we have jurisdiction. 28
     U.S.C. § 1291.
                                                  4
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page5
                                                                  Pageof
                                                                       5 18
                                                                         of 18

                                                                                         14‐3708
                                                                          Geismann v. ZocDoc, Inc.

 1   number directly to the sender or through voluntary participation in a directory

 2   or other public source, or the fax meets certain specified notice requirements. 47

 3   U.S.C. § 227(b)(1)(C); see also id. § 227(a)(5) (ʺThe term ʹunsolicited advertisementʹ

 4   means any material advertising the commercial availability or quality of any

 5   property, goods, or services which is transmitted to any person without that

 6   personʹs prior express invitation or permission, in writing or otherwise.ʺ).

 7         The complaint requested between $500.00 and $1,500.00 in damages for

 8   each TCPA violation, an injunction prohibiting ZocDoc from sending similar

 9   faxes in the future, and costs. See id. § 227(b)(3) (providing a private right of

10   action for injunctive relief and damages in the amount of ʺactual monetary lossʺ

11   or ʺ$500 . . . for each [] violation, whichever is greater,ʺ to be tripled at the courtʹs

12   discretion if the defendant ʺwillfully or knowingly violated [the statute]ʺ).

13         The complaint also requested that the case be treated as a class action.

14   Geismann filed a separate motion for class certification pursuant to Missouri law

15   the same day that it filed the complaint. The certification motion contained a

16   footnote explaining that Geismann filed the motion at the same time as the

17   complaint because the ʺ[d]efendants in class litigation have resorted to making

18   individual settlement offers to named plaintiffs before a class action is certified in



                                                 5
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page6
                                                                  Pageof
                                                                       6 18
                                                                         of 18

                                                                                           14‐3708
                                                                            Geismann v. ZocDoc, Inc.

 1   an attempt to ʹpick‐offʹ the putative class representative and thereby derail the

 2   class action litigation.ʺ Pl.ʹs State Ct. Mot. for Class Certification at 1 n.1 (J.A. 19).

 3          On March 13, 2014, ZocDoc removed the action to the United States

 4   District Court for the Eastern District of Missouri, invoking federal question

 5   jurisdiction. See 28 U.S.C. §§ 1331, 1367. Two weeks later, ZocDoc made an offer

 6   of judgment to Geismann pursuant to Federal Rule of Civil Procedure 68 for (1)

 7   $6,000, plus reasonable attorneyʹs fees,4 in satisfaction of Geismannʹs individual

 8   claims, and (2) an injunction prohibiting ZocDoc from engaging in the alleged

 9   statutory violations in the future. On April 8, 2014, Geismann rejected the offer

10   but indicated that it would be willing to accept if ZocDoc would extend the same

11   offer to all members of the putative class action. ZocDoc declined.

12          In August 2014, the district court granted ZocDocʹs motion to transfer the

13   action to the Southern District of New York. See 28 U.S.C. § 1404(a). ZocDoc

14   then moved to dismiss the complaint, primarily on the ground that its offer of

15   judgment mooted the action. Geismann disputed, inter alia, whether the

16   unaccepted offer ʺprovided full satisfaction of [its] claim,ʺ arguing that the TCPA



      4 Geismannʹs initial complaint requested attorneyʹs fees for its state law claims, not for
     its claim under the TCPA, a statute that the parties agree does not provide expressly for
     the award of attorneyʹs fees or costs. Attorneyʹs fees are not at issue in this appeal, and
     we do not take a position regarding the statutory availability of any such fees.
                                                  6
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page7
                                                                  Pageof
                                                                       7 18
                                                                         of 18

                                                                                        14‐3708
                                                                         Geismann v. ZocDoc, Inc.

 1   provides for monetary damages per ʺviolation,ʺ not per fax, entitling it to

 2   ʺrecover for each of the multiple violations in each fax.ʺ Pl.ʹs Oppʹn to Def.ʹs Mot.

 3   to Dismiss at 14 n.4, Geismann v. ZocDoc, Inc., No. 14‐cv‐7009 (S.D.N.Y. Sept. 25,

 4   2014), ECF No. 53.

 5         The district court disagreed, reasoning:

 6         The monetary damages Geismann can recover individually under
 7         the TCPA for two unsolicited faxes [it] received . . . are limited to
 8         $1,000, which could be trebled to not more than $3,000 if the Court
 9         finds that it was a willful and knowing violation. ZocDocʹs offer of
10         judgment not only adds Geismannʹs attorneysʹ fees, but is twice the
11         trebled amount, and thus more than satisfies any recovery
12         Geismann could make under the applicable statute.

13   Geismann v. ZocDoc, Inc., 60 F. Supp. 3d 404, 405‐06 (S.D.N.Y. 2014). The court

14   entered judgment in the amount and under the terms of the rejected settlement

15   offer and dismissed the action as moot because, following the settlement offer

16   and entry of judgment, ʺthere remain[ed] no case or controversy.ʺ Id. at 407.

17         Geismann then brought this appeal. While the appeal was pending,

18   ZocDoc requested leave to deposit a check in the amount of $6,100.00 payable to

19   the clerk of the district court in satisfaction of judgment. Pl.ʹs Ltr. Mot. at 2‐3,

20   Geismann v. ZocDoc, Inc., No. 14‐cv‐7009 (S.D.N.Y. Feb. 1, 2016), ECF No. 60. The

21   court granted the request, reasoning that the Supreme Courtʹs then‐recent

22   decision in Campbell‐Ewald Co. v. Gomez, ‐‐‐ U.S. ‐‐‐‐, 136 S. Ct. 663 (2016),
                                                7
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page8
                                                                  Pageof
                                                                       8 18
                                                                         of 18

                                                                                        14‐3708
                                                                         Geismann v. ZocDoc, Inc.

 1   ʺfavor[s] deposit of judgments with the Courtʺ in these circumstances. Order for

 2   Deposit in Interest Bearing Account at 2, Geismann v. ZocDoc, Inc., No. 14‐cv‐7009

 3   (S.D.N.Y. Feb. 3, 2016), ECF No. 63.5

 4         We ordered the parties to submit supplemental briefing addressing the

 5   effect of Campbell‐Ewald on the issues presented in this appeal, and, on February

 6   1, 2016, both parties made a responsive submission. ZocDoc argued that

 7   following the entry of judgment and deposit of funds with the clerk of the court,

 8   the plaintiff in this case, unlike the plaintiff in Campbell‐Ewald, was not left

 9   ʺemptyhanded.ʺ Def.ʹs Supp. Br. at 2, 4. Geismann argued, inter alia, that

10   Campbell‐Ewald foreclosed the district courtʹs disposition of this case because ʺan

11   unaccepted settlement offer or offer of judgment does not moot a plaintiffʹs case

12   no matter how good the terms.ʺ Pl.ʹs Supp. Br. at 1 (internal quotation marks

13   omitted).




      5 Geismann challenges this deposit order in a related appeal. See Geismann v. ZocDoc,
     Inc., No. 16‐663 (ʺGeismann IIʺ). Because the disposition of the present appeal renders
     moot the issues there raised, we have concurrently issued an order granting ZocDocʹs
     motion to dismiss Geismann II as duplicative.
                                                8
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page9
                                                                  Pageof
                                                                       9 18
                                                                         of 18

                                                                                        14‐3708
                                                                         Geismann v. ZocDoc, Inc.

 1                                      DISCUSSION
 2         A. Standard of Review


 3         ʺIn considering a dismissal for lack of jurisdiction, we review the district

 4   courtʹs factual findings for clear error and its legal conclusions de novo.ʺ APWU v.

 5   Potter, 343 F.3d 619, 623‐24 (2d Cir. 2003).


 6         B. Jurisdiction


 7         Our jurisdiction is limited by Article III, section 2, of the United States

 8   Constitution to ʺcasesʺ and ʺcontroversies.ʺ Spencer v. Kemna, 523 U.S. 1, 7 (1998).

 9   Where there is no unresolved case or controversy, ʺmootness occursʺ and ʺthe

10   court—whether trial, appellate, or Supreme—loses jurisdiction over the suit,

11   which therefore must be dismissed.ʺ Russman v. Bd. of Educ. of Enlarged City Sch.

12   Dist. of City of Watervliet, 260 F.3d 114, 118‐19 (2d Cir. 2001).


13         C. Campbell‐Ewald


14         Geismann argues that the district court erred in dismissing its complaint

15   for lack of subject matter jurisdiction because ZocDocʹs proffered monetary

16   damages did not provide complete relief as to Geismannʹs individual claims; the

17   individual and putative class claims were therefore not moot. Alternatively,

18   Geismann asks us to conclude, as a matter of first impression in this Circuit, that

                                                 9
            Case 1:14-cv-07009-LLS
              Case                 Document
                    14-3708, Document          66 Filed1985729,
                                      181, 03/09/2017,  03/09/17Page10
                                                                 Page 10  of 18
                                                                       of 18
                                                                                       14‐3708
                                                                        Geismann v. ZocDoc, Inc.

 1   even if the offer was complete as to its individual claims, an individual judgment

 2   does not render moot a putative class claim, at least when a class‐certification

 3   motion is pending. Cf. Tanasi v. New Alliance Bank, 786 F.3d 195, 198 (2d Cir.

 4   2015), as amended (May 21, 2015), cert. denied, 136 S. Ct. 979 (2016) (declining to

 5   address this question). While this appeal was pending before us, the Supreme

 6   Court decided Campbell‐Ewald. Its decision made clear that an unaccepted Rule

 7   68 offer of judgment does not render an action moot. Campbell‐Ewald, 136 S. Ct.

 8   at 670‐71. Because that decision controls our review and is dispositive of the case

 9   at bar, we need not, and decline to, reach the issues raised by Geismann in its

10   pre‐Campbell‐Ewald submissions.


11         In Campbell‐Ewald, the plaintiff sought individual and class‐wide relief

12   under the TCPA, alleging that he and members of the putative class received

13   unsolicited text messages sent by the defendant in violation of the statute. Id. at

14   667. The defendant, like ZocDoc, ʺproposed to settle [the plaintiffʹs] individual

15   claim and filed an offer of judgment pursuant to Federal Rule of Civil Procedure

16   68,ʺ including an offer to pay ʺcosts, excluding attorneyʹs fees, and $1,503 per

17   message,ʺ as well as ʺa stipulated injunction in which [the defendant] agreed to

18   be barred from sending text messages in violation of the TCPA.ʺ Id. at 667‐68.


                                               10
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page11
                                                                  Page 11  of 18
                                                                        of 18
                                                                                           14‐3708
                                                                            Geismann v. ZocDoc, Inc.

 1   The plaintiff, like Geismann, declined the offer. Id. at 668. The Supreme Court

 2   concluded that an Article III ʺcaseʺ or ʺcontroversyʺ remained, Rule 68 offer

 3   notwithstanding,6 because ʺ[a]n unaccepted settlement offer—like any

 4   unaccepted contract offer—is a legal nullity, with no operative effect.ʺ Id. at 670

 5   (quoting Genesis Healthcare Corp. v. Symczyk, ‐‐‐ U.S. ‐‐‐‐, 133 S. Ct. 1523, 1533

 6   (2013) (Kagan, J., dissenting)). ʺ[W]ith no settlement offer still operative, the

 7   parties remained adverse; both retained the same stake in the litigation they had

 8   at the outset.ʺ Id. at 670‐71.


 9          In light of Campbell‐Ewald, the district courtʹs conclusion in this case that

10   Geismannʹs claim was ʺmooted by the amount and content of the Rule 68 offer

11   made by ZocDoc,ʺ Geismann, 60 F. Supp. 3d at 407, is incorrect. Rule 68 provides

12   that, ʺ[a]t least 14 days before the date set for trial, a party defending against a

13   claim may serve on an opposing party an offer to allow judgment on specified

14   terms, with the costs then accrued.ʺ Fed. R. Civ. P. 68(a). ʺThe plain purpose of

      6The Supreme Court declined to consider ʺwhether the result would be different if a
     defendant deposits the full amount of the plaintiffʹs individual claim in an account
     payable to the plaintiff, and the court then enters judgment for the plaintiff in that
     amount.ʺ Campbell‐Ewald, 136 S. Ct. at 672. That ʺhypotheticalʺ did not present itself in
     Campbell‐Ewald in part because the district court declined to dismiss the plaintiffʹs claim
     on the ground that it was rendered moot by the unaccepted Rule 68 offer, Gomez v.
     Campbell‐Ewald Co., 805 F. Supp. 2d 923, 928‐30 (C.D. Cal. 2011), and the United States
     Court of Appeals for the Ninth Circuit affirmed, Gomez v. Campbell‐Ewald Co., 768 F.3d
     871, 875 (9th Cir. 2014).
                                                 11
            Case 1:14-cv-07009-LLS
              Case                 Document
                    14-3708, Document          66 Filed1985729,
                                      181, 03/09/2017,  03/09/17Page12
                                                                 Page 12  of 18
                                                                       of 18
                                                                                      14‐3708
                                                                       Geismann v. ZocDoc, Inc.

 1   Rule 68 is to encourage settlement and avoid litigation.ʺ Marek v. Chesny, 473

 2   U.S. 1, 5 (1985). Should the offeree decline the offer, however, it ʺis considered

 3   withdrawn.ʺ Fed. R. Civ. P. 68(b). Campbell‐Ewald makes clear that such a

 4   ʺwithdrawnʺ offer ʺha[s] no continuing efficacy.ʺ 136 S. Ct. at 670. The district

 5   courtʹs entry of judgment, therefore, imbued ZocDocʹs offer with a power it did

 6   not possess.


 7         The district courtʹs conclusion in the case now before us is, of course,

 8   understandable, it having been reached before Campbell‐Ewald was decided.

 9   And, as we have noted, ʺour prior case law has not always been entirely clear on

10   this subject.ʺ Tanasi, 786 F.3d at 199. The district court also followed the

11   ʺtypically properʺ procedure by ʺenter[ing] judgment against the defendant for

12   the proffered amount and [] direct[ing] payment to the plaintiff consistent with

13   the offer.ʺ Cabala v. Crowley, 736 F.3d 226, 228 (2d Cir. 2013) (per curiam). But the

14   basis upon which the district court entered judgment did not exist: An

15   unaccepted Rule 68 offer of judgment does not render an action moot.


16         ZocDoc attempts to distinguish Campbell‐Ewald on two grounds. First,

17   unlike Campbell‐Ewald, the district court entered judgment in this case, giving

18   effect to the unaccepted offer. We do not find this distinction meaningful


                                              12
            Case 1:14-cv-07009-LLS
              Case                 Document
                    14-3708, Document          66 Filed1985729,
                                      181, 03/09/2017,  03/09/17Page13
                                                                 Page 13  of 18
                                                                       of 18
                                                                                         14‐3708
                                                                          Geismann v. ZocDoc, Inc.

 1   because the judgment should not have been entered in the first place. See

 2   Campbell‐Ewald, 136 S. Ct. at 672 (ʺ[A]n unaccepted settlement offer or offer of

 3   judgment does not moot a plaintiffʹs case, so the District Court retained

 4   jurisdiction to adjudicate [the plaintiffʹs] complaint.ʺ). ʺUnder basic principles of

 5   contract law,ʺ id. at 670, ʺthe recipientʹs rejection of an offer leaves the matter as if

 6   no offer had ever been made. . . . So assuming the case was live before—because

 7   the plaintiff had a stake and the court could grant relief—the litigation carries on,

 8   unmooted,ʺ id. (quoting Genesis Healthcare, 133 S. Ct. at 1533 (Kagan, J.,

 9   dissenting) (internal quotation marks omitted)). The result in Campbell‐Ewald

10   cannot be avoided simply by entering a judgment effectuating an otherwise

11   precluded dismissal.


12         ZocDoc notes that the district court did not act reflexively, having carefully

13   considered the content of the rejected offer. Be that as it may, the offer that the

14   district court carefully reviewed was null and void at the time. It is of no

15   moment whether the offer ʺmore than satisfie[d] any recovery Geismann could

16   make under the applicable statute.ʺ Geismann, 60 F. Supp. 3d at 406. ʺWhen a

17   plaintiff rejects [a Rule 68] offer—however good the terms—her interest in the

18   lawsuit remains just what it was before. And so too does the courtʹs ability to


                                                13
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page14
                                                                  Page 14  of 18
                                                                        of 18
                                                                                           14‐3708
                                                                            Geismann v. ZocDoc, Inc.

 1   grant her relief.ʺ Campbell‐Ewald, 136 S. Ct. at 670 (quoting Genesis Healthcare, 133

 2   S. Ct. at 1533 (Kagan, J., dissenting)).


 3          Geismann also contests whether the offer in fact ʺmore than satisfie[d] any

 4   recovery [it] could make under the applicable statute.ʺ Geismann, 60 F. Supp. 3d

 5   at 406. Indeed, Geismann insisted in its opposition to the motion to dismiss that

 6   the amount proffered by ZocDoc did not ʺprovide[] full satisfaction of

 7   [Geismannʹs] claim,ʺ in part because the parties had divergent legal theories

 8   regarding the amount of damages available under the TCPA.7 Pl.ʹs Oppʹn to

 9   Def.ʹs Mot. to Dismiss at 14 n.4, Geismann v. ZocDoc, Inc., No. 14‐cv‐7009

10   (S.D.N.Y. Sept. 25, 2014), ECF No. 53. That constitutes a live controversy

11   precluding dismissal on the basis of mootness. ʺA case becomes moot only when

12   it is impossible for a court to grant any effectual relief whatever to the prevailing

13   party.ʺ Knox v. Serv. Emps. Intʹl Union, Local 1000, ‐‐‐ U.S. ‐‐‐‐, 132 S. Ct. 2277,

14   2287 (2012) (internal quotation marks omitted). While we recognized prior to

15   Campbell‐Ewald that a judgment entered pursuant to an offer can render an action


      7 While we decline to resolve this dispute, we note that Geismannʹs position is not
     frivolous. To wit: the Eleventh Circuit recently sided in favor of Geismannʹs per‐
     violation interpretation of the TCPA. Lary v. Trinity Physician Fin. & Ins. Servs., 780 F.3d
     1101, 1106 (11th Cir. 2015) (ʺIn plain terms, the statute allows a person to recover ʹ$500
     in damages for eachʹ ʹviolation of this subsection.ʹ Section 227(b)(1) has no language
     limiting the recovery to $500 per ʹcallʹ or ʹfax.ʹʺ (citation omitted)).
                                                  14
            Case 1:14-cv-07009-LLS
              Case                 Document
                    14-3708, Document          66 Filed1985729,
                                      181, 03/09/2017,  03/09/17Page15
                                                                 Page 15  of 18
                                                                       of 18
                                                                                        14‐3708
                                                                         Geismann v. ZocDoc, Inc.

 1   moot where ʺthe parties agree that a judgment should be entered against the

 2   defendant,ʺ Tanasi, 786 F.3d at 200 (emphasis added), the offer of judgment alone

 3   does not have the same or a similar effect, see, e.g., Hepler v. Abercrombie & Fitch

 4   Co., 607 F. Appʹx 91, 92‐93 (2d Cir. 2015) (summary order); Franco v. Allied

 5   Interstate LLC, 602 F. Appʹx 40, 41 (2d Cir. 2015) (summary order). This was

 6   neither a case in which the parties agreed to the entry of a particular judgment,

 7   see Tanasi, 786 F.3d at 200, nor one in which an accepted offer rendered the

 8   plaintiffʹs claim moot, see Bank v. Alliance Health Networks, LLC, ‐‐‐ F. Appʹx ‐‐‐‐,

 9   2016 WL 6128043, at *1, 2016 U.S. App. LEXIS 18849, at *2 (2d Cir. 2016)

10   (summary order) (stating that although the ʺSupreme Court has held that an

11   unaccepted Rule 68 offer of judgment, on its own, will not moot a plaintiffʹs

12   claims,ʺ that rule does not control where, unlike here, the plaintiff ʺnegotiated the

13   checkʺ proffered by the defendants).


14         ZocDoc also argues that Campbell‐Ewald is distinguishable because

15   Geismann was not left ʺemptyhanded.ʺ 136 S. Ct. at 672. We disagree. ZocDocʹs

16   unsuccessful attempt to tender judgment notwithstanding, Geismann has not

17   been compensated in satisfaction of its claim, which would require, at a

18   minimum, its acceptance of a valid offer. See id. (ʺ[W]hen the settlement offer . . .


                                               15
            Case 1:14-cv-07009-LLS
              Case                 Document
                    14-3708, Document          66 Filed1985729,
                                      181, 03/09/2017,  03/09/17Page16
                                                                 Page 16  of 18
                                                                       of 18
                                                                                       14‐3708
                                                                        Geismann v. ZocDoc, Inc.

 1   expired, [the plaintiff] remained emptyhanded; [the plaintiffʹs] TCPA complaint,

 2   which [the defendant] opposed on the merits, stood wholly unsatisfied.ʺ).

 3   Geismann thus remains emptyhanded, distinguishing this case from the trio of

 4   19th‐century tax cases that ZocDoc cites for the proposition that Geismannʹs

 5   claim is ʺextinguishedʺ; in each of those cases, the claimant accepted tender. See

 6   California v. San Pablo & Tulare R.R. Co., 149 U.S. 308, 314 (1893) (finding that the

 7   dispute was resolved by ʺthe offer to pay all [] sums, and the deposit of money in

 8   a bank, which by a statute of the state have the same effect as actual payment and

 9   receipt of the moneyʺ (emphases added)); Little v. Bowers, 134 U.S. 547, 552 (1890)

10   (observing that there was ʺno denial of the fact that the taxes in dispute ha[d]

11   been paidʺ and therefore, implicitly, accepted); San Mateo Cnty. v. S. Pac. R.R. Co.,

12   116 U.S. 138, 141 (1885) (noting that there was no dispute that the ʺdebt for which

13   the suit was brought ha[d] been unconditionally paid and satisfiedʺ).


14         ZocDocʹs post‐judgment actions move it no closer to its goal. The order

15   granting leave to deposit a check in the amount of $6,100.00 with the clerk of the

16   district court in satisfaction of judgment was made pursuant to and in

17   furtherance of a judgment that should not have been entered in the first place.

18   And even if that deposit had satisfied Geismannʹs demand for monetary relief, it


                                               16
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page17
                                                                  Page 17  of 18
                                                                        of 18
                                                                                          14‐3708
                                                                           Geismann v. ZocDoc, Inc.

 1   alone does nothing to satisfy the demand for injunctive relief. Cf. Mey v. N. Am.

 2   Bancard, LLC, 655 F. Appʹx 332, 336 (6th Cir. 2016) (summary order) (observing

 3   that ʺa tenderʺ of monetary damages alone ʺdoes nothing to satisfy [the

 4   plaintiffʹs] request for injunctive reliefʺ).


 5          This is also not a case that matches the hypothetical posed by Campbell‐

 6   Ewald, where the Supreme Court declined to consider whether the outcome

 7   would be different had the ʺdefendant deposit[ed] the full amount of the

 8   plaintiffʹs individual claim in an account payable to the plaintiff, and the court

 9   then enter[ed] judgment for the plaintiff in that amount.ʺ 136 S. Ct. at 672

10   (emphasis added). Here the district court entered a judgment that should not

11   have been entered in the first place, and ZocDoc then more than one year later

12   deposited an amount in satisfaction of that errant judgment in an account

13   payable to Geismann. Accordingly, we need not, and do not, decide whether a

14   different outcome would result if the facts here matched the Campbell‐Ewald

15   hypothetical.8




      8 We note, without deciding because the situation is not before us, that an attempt by
     the defendant to use the tactic described in the Campbell‐Ewald hypothetical to ʺplace [it]
     in the driverʹs seat,ʺ 136 S. Ct. at 672, might not work. The Supreme Courtʹs criticism of
     similar tactics suggests that Rule 68 should be harmonized with Rule 23. See id.
     (describing a ʺkindred strategyʺ intended to ʺavoid a potential adverse decisionʺ as a
                                                 17
             Case 1:14-cv-07009-LLS
               Case                 Document
                     14-3708, Document          66 Filed1985729,
                                       181, 03/09/2017,  03/09/17Page18
                                                                  Page 18  of 18
                                                                        of 18
                                                                                            14‐3708
                                                                             Geismann v. ZocDoc, Inc.

 1          D. Other Issues


 2          Because we conclude that ZocDocʹs unaccepted offer did not moot

 3   Geismannʹs individual claim, we need not address the remaining issues raised on

 4   appeal. The district court should not have entered judgment on the basis of

 5   ZocDocʹs offer, nor therefore should it have dismissed Geismannʹs action.

 6   Because a named plaintiff remains in this action, the dismissal of the class claim

 7   was also in error. Although the district court may, in its discretion, permit

 8   ZocDoc to deposit with the court ʺany part of the relief sought,ʺ Fed. R. Civ. P.

 9   67, the basis for so granting the defendant leave to deposit must not be

10   inconsistent with this opinion.


11                                       CONCLUSION
12          For the foregoing reasons, we VACATE the judgment of the district court

13   and REMAND for further proceedings.

     ʺgambitʺ); cf. Genesis Healthcare, 133 S. Ct. at 1536 (Kagan, J., dissenting) (stating that a
     court should not ʺshort‐circuitʺ a statutory collective action ʺby acceding to a
     defendantʹs proposal to make only the named plaintiff wholeʺ). The Supreme Court has
     also acknowledged that ʺ[r]equiring multiple plaintiffs to bring separate actions, which
     effectively could be ʹpicked offʹ by a defendantʹs tender of judgment before an
     affirmative ruling on class certification could be obtained obviously would frustrate the
     objectives of class actions,ʺ and ʺwould invite waste of judicial resources by stimulating
     successive suits brought by others claiming aggrievement.ʺ Deposit Guar. Natʹl Bank v.
     Roper, 445 U.S. 326, 339 (1980). However, we need not, and therefore do not, weigh in
     on whether further maneuvers by the defendant might render a motion to dismiss
     viable. We do no more than observe the obvious: an attempt to make use of the
     hypothetical posited in Campbell‐Ewald is not guaranteed to bear fruit.
                                                  18
